




Dismissed and Memorandum Opinion filed August 24, 2006








Dismissed
and Memorandum Opinion filed August 24, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00686-CR

____________

&nbsp;

JIMMY ROCHA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County, Texas

Trial Court Cause No. 1061016

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of prostitution.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant on June 13, 2006, to confinement for two years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se
notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
24, 2006.

Panel consists of Justices Anderson, Hudson, and
Guzman.

Do Not Publish C Tex. R. App. P.
47.2(b)





